Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 1 of 35

Exhibit 5
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 2 of 35

 

 

 

 

 

NDA 21-397
Page 3
- ® .
Neurontin (gabapentin) Capsules
Neurontin® (gabapentin) Tablets
Neurontin® (gabapentin) Oral Solution
DESCRIPTION

Neurontin® (gabapentin) Capsules, Neurontin® (gabapentin) Tablets, and Neurontin® (gabapentin) Oral
Solution are supplied as imprinted hard shell capsules containing 100 mg, 300 mg, and 400 mg of
gabapentin, elliptical film-coated tablets containing 600 mg and 800 mg of gabapentin or an oral
solution containing 250 mg/5 mL of gabapentin.

The inactive ingredients for the capsules are lactose, cornstarch, and talc. The 100 mg capsule shell
contains gelatin and titanium dioxide. The 300 mg capsule shell contains gelatin, titanium dioxide, and
yellow iron oxide. The 400 mg capsule shell contains gelatin, red iron oxide, titanium dioxide, and
yellow iron oxide. The imprinting ink contains FD&C Blue No. 2 and titanium dioxide.

The inactive ingredients for the tablets are poloxamer 407, copolyvidonum, cornstarch, magnesium
stearate, hydroxypropyl cellulose, talc, candelilla wax and purified water. The imprinting ink for the
600 mg tablets contains synthetic black iron oxide, pharmaceutical shellac, pharmaceutical glaze,
propylene glycol, ammonium hydroxide, isopropyl alcohol and n-butyl alcohol. The imprinting ink for
the 800 mg tablets contains synthetic yellow iron oxide, synthetic red iron oxide, hydroxypropyl
methylcellulose, propylene glycol, methanol, isopropyl alcohol and deionized water.

The inactive ingredients for the oral solution are glycerin, xylitol, purified water and artificial cool
strawberry anise flavor.

Gabapentin is described as 1-(aminomethy!)cyclohexaneacetic acid with a molecular formula of
CoHi7NO> and a molecular weight of 171.24. The structural formula of gabapentin is:

GHoNHo

Xx

CHsCOsH

Confidential Pfizer LKnapp_0068585
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 3 of 35

NDA 21-397
Page 4

Gabapentin is a white to off-white crystalline solid with a pKa, of 3.7 and a pKa of 10.7. It is freely
soluble in watcr and both basic and acidic aqucous solutions. The log of the partition coefficient
(n-octanol/0.05M phosphate buffer) at pH 7.4 is -1.25.

CLINICAL PHARMACOLOGY
Mechanism of Action

The mechanism by which gabapentin exerts its analgesic action is unknown, but in animal models of
analgesia, gabapentin prevents allodynia (pain-related behavior in response to a normally innocuous
stimulus) and hyperalgesia (exaggerated response to painful stimuli). In particular, gabapentin prevents
pain-related responses in several models of neuropathic pain in rats or mice (e.g., spinal nerve ligation
models, streptozocin-induced diabetes modcl, spinal cord injury model, acute herpes zoster infection
model). Gabapentin also decreases pain-related responses after peripheral inflammation (carrageenan
footpad test, late phase of formalin test), Gabapentin did not aller immediate pain-related behaviors (rat
tail flick test, formalin footpad acute phase, acetic acid abdominal constriction test, footpad heat

irradiation test). The relevance of these models to human pain is not known.

The mechanism by which gabapentin exerts its anticonvulsant action is unknown, but in animal test
systems designed to detect anticonvulsant activity, gabapentin prevents seizures as do other marketed
anticonvulsants. Gabapentin exhibits antiseizure activity in mice and rats in both the maximal
electroshock and pentylenetetrazole seizure models and other preclinical models (e.g., strains with
genetic epilepsy, etc.). The relevance of these models to human epilepsy is not known.

Gabapentin is structurally related to the neurotransmitter GABA (gamma-aminobutyric acid) but it
does not modify GABA, or GABAs radioligand binding, it is not converted metabolically into GABA
or a GABA agonist, and it is not an inhibitor of GABA uptake or degradation. Gabapentin was tested
in radioligand binding assays at concentrations up to 100 UM and did not exhibit affinity for a number
of other common receptor sites, including benzodiazepine, glutamate, N-methyl-D-aspartate (NMDA),
quisqualate, kainate, strychnine-insensitive or strychnine-sensitive glycine, alpha 1, alpha 2, or beta
adrenergic, adenosine Al or A2, cholinergic muscarinic or nicotinic, dopamine D1 or D2,

histamine H1, serotonin S1 or $2, opiate mu, delta or kappa, cannabinoid 1, voltage-sensitive calcium
channel sites labeled with nitrendipine or diltiazem, or at voltage-sensitive sodium channel sites
labeled with batrachotoxinin A 20-alpha-benzoate. Furthermore, gabapentin did not alter the cellular

uptake of dopamine, noradrenaline, or serotonin.

Jn vitro studies with radiolabeled gabapentin have revealed a gabapentin binding site in areas of rat
brain including neocortex and hippocampus. A high-affinity binding protein in animal brain tissue has

Confidential Pfizer LKnapp_0068586
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 4 of 35

NDA 21-397
Page 5

been identified as an auxiliary subunit of voltage-activated calcium channels. However, functional

correlates of gabapentin binding, if any, remain to be elucidated.

Pharmacokinetics and Drug Metabolism

All pharmacological actions following gabapentin administration are due to the activity of the parent

compound; gabapentin is not appreciably metabolized in humans.

Oral Bioavailability: Gabapentin bioavailability is not dose proportional; i.c., as dose is increased,
bioavailability decreases. Bioavailability of gabapentin is approximately 60%, 47%, 34%, 33%, and
27% following 900, 1200, 2400, 3600, and 4800 mg/day given in 3 divided doses, respectively. Food
has only a slight effect on the rate and extent of absorption of gabapentin (14% increase in AUC and
Crmax)

Distribution: Less than 3% of gabapentin circulates bound to plasma protein. The apparent volume of
distribution of gabapentin after 150 mg intravenous administration is 58+6 L (Mean +SD). In patients
with epilepsy, steady-state predose (Cin) concentrations of gabapentin in cerebrospinal fluid were

approximately 20% of the corresponding plasma concentrations.

Elimination: Gabapentin is eliminated from the systemic circulation by renal excretion as unchanged

drug. Gabapentin is not appreciably metabolized in humans.

Gabapentin elimination half-life is 5 to 7 hours and is unaltered by dose or following multiple dosing.
Gabapentin elimination rate constant, plasma clearance, and renal clearance are directly proportional to
creatinine clearance (see Special Populations: Patients With Renal Insufficiency, below). In elderly
patients, and in patients with impaired renal function, gabapentin plasma clearance is reduced.

Gabapentin can be removed from plasma by hemodialysis.

Dosage adjustment in patients with compromised renal function or undergoing hemodialysis is
recommended (see DOSAGE AND ADMINISTRATION, Table 5).

Special Populations: Adult Patients With Renal Insufficiency: Subjects (N=60) with renal
insufficiency (mean creatinine clearance ranging from 13-114 mL/min) were administered single

400 mg oral doses of gabapentin. The mean gabapentin half-life ranged from about 6.5 hours (patients
with creatinine clearance >60 mL/min) to 52 hours (creatinine clearance <30 mL/min) and gabapentin
renal clearance from about 90 mL/min (>60 mL/min group) to about 10 mL/min (<30 mL/min). Mean
plasma clearance (CL/F) decreased from approximately 190 mL/min to 20 mL/min.

Confidential Pfizer LKnapp_0068587
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 5 of 35

NDA 21-397
Page 6

Dosage adjustment in adult patients with compromised renal function is necessary (see DOSAGE AND
ADMINISTRATION). Pediatric patients with renal insufficiency have not been studied.

Hemodialysis: In a study in anuric subjects (N=11), the apparent climination half-life of gabapentin on
nondialysis days was about 132 hours; during dialysis the apparent half-life of gabapentin was reduced
to 3.8 hours. Hemodialysis thus has a significant effect on gabapentin elimination in anuric subjects.

Dosage adjustment in patients undergoing hemodialysis is necessary (see DOSAGE AND
ADMINISTRATION).

Hepatic Disease: Because gabapentin is not metabolized, no study was performed in patients with

hepatic impairment.

Age: The effect of age was studied in subjects 20-80 years of age. Apparent oral clearance (CL/F) of
gabapentin decreased as age increased, from about 225 mL/min in those under 30 years of age to about
125 mL/min in those over 70 years of age. Renal clearance (CLr) and CLr adjusted for body surface
area also declined with age; however, the decline in the renal clearance of gabapentin with age can
largely be explained by the decline in renal function. Reduction of gabapentin dose may be required in
patients who have age related compromised renal function. (See PRECAUTIONS, Geriatric Use, and
DOSAGE AND ADMINISTRATION.)

Pediatric: Gabapentin pharmacokinetics were determined in 48 pediatric subjects between the ages of
1 month and 12 years following a dose of approximately 10 mg/kg. Peak plasma concentrations were
similar across the entire age group and occurred 2 to 3 hours postdose. In general, pediatric subjects
between 1 month and <5 years of age achieved approximately 30% lower exposure (AUC) than that
observed in those 5 years of age and older. Accordingly, oral clearance normalized per body weight
was higher in the younger children. Apparent oral clearance of gabapentin was directly proportional to
creatinine clearance. Gabapentin elimination half-life averaged 4.7 hours and was similar across the

age groups studied.

A population pharmacokinctic analysis was performed in 253 pediatric subjects between 1 month and
13 years of age. Patients received 10 to 65 mg/kg/day given TID. Apparent oral clearance (CL/F) was
directly proportional 1o creatinine clearance and this relationship was similar following a single dose
and at steady state. Higher oral clearance values were observed in children <5 years of age compared to
those observed in children 5 years of age and older, when normalized per body weight. The clearance
was highly variable in infants <1 year of age. The normalized CL/F values observed in pediatric
patients 5 years of age and older were consistent with values observed in adults after a single dose. The

oral volume of distribution normalized per body weight was constant across the age range.

Confidential Pfizer LKnapp_0068588
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 6 of 35

NDA 21-397
Page 7

These pharmacokinetic data indicate that the effective daily dose in pediatric patients with epilepsy
ages 3 and 4 years should be 40 mg/kg/day to achieve average plasma concentrations similar to those
achieved in patients 5 years of age and older receiving gabapentin at 30 mg/kg/day. (See DOSAGE
AND ADMINISTRATION.)

Gender: Although no formal study has been conducted to compare the pharmacokinetics of gabapentin
in men and women, it appears that the pharmacokinetic parameters for males and females are similar

and there are no significant gender differences.

Race: Pharmacokinetic differences duc to race have not been studied. Because gabapentin is primarily
renally excreted and there are no important racial differences in creatinine clearance, pharmacokinetic

differences due to race are not expected.
Clinical Studies

Postherpetic Neuralgia

Neurontin® was evaluated for the management of postherpetic neuralgia (PHN) in 2 randomized,
double-blind, placebo-controlled, multicenter studies; N=563 patients in the intent-to-treat (ITT)
population (Table 1). Patients were enrolled if they continued to have pain for more than 3 months after

healing of the herpes zoster skin rash.

 

 

 

 

 

 

Table 1. Controlled PHN Studies: Duration, Dosages, and
Number of Patients
Study Study Gabapentin Patients Patients
Duration (mg/day)* Receiving | Receiving
Target Dose Gabapentin Placebo
1 8 weeks 3600 113 116
2 7 wecks 1800, 2400 223 111
Total 336 227

 

 

 

 

 

Given in 3 divided doses (TID)

Each study included a 1-week baseline during which patients were screened for eligibility and a 7- or
8-week double-blind phase (3 or 4 weeks of titration and 4 weeks of fixed dose). Patients initiated
treatment with titration to a maximum of 900 mg/day gabapentin over 3 days. Dosages were then to be
titrated in 600 to 1200 mg/day increments at 3- to 7-day intervals to target dose over 3 to 4 weeks. In
Study 1, patients were continued on lower doses if not able to achieve the target dose. During baseline
and treatment, paticnts recorded their pain in a daily diary using an 11-point numeric pain rating scale
ranging from 0 (no pain) to 10 (worst possible pain). A mean pain score during baseline of at least 4

Confidential Pfizer LKnapp_0068589
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 7 of 35

NDA 21-397
Page 8

was required for randomization (baseline mean pain score for Studies 1 and 2 combined was 6.4).
Analyses were conducted using the ITT population (all randomized patients who received at least one

dose of study medication).
Both studies showed significant differences from placebo at all doses tested.

A significant reduction in weekly mean pain scores was seen by Week 1 in both studies, and significant
differences were maintained to the end of treatment. Comparable treatment effects were observed in all
active treatment arms. Pharmacokinetic/pharmacodynamic modeling provided confirmatory evidence
of cfficacy across all doses. Figures | and 2 show these changes for Studics 1 and 2.

<¢+——__ 4-Week Dose Titration Period ——_p»«———_4-Week Fixed Dose Period ———_»

~O=Placebo

k- Gabapentin, 3600 mg/day

47 wk
** + vee we

Mean Pain Score
ta

a

“p<0.01

 

 

Baseline 1 2 3 4 5 6 7 8

Weeks

Figure 1. Weekly Mean Pain Scores (Observed Cases in ITT Population): Study 1

Confidential Pfizer LKnapp_0068590
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 8 of 35

 

 

 

NDA 21-397
Page 9
105 +— 3-Week Dose Titration Period—»>«————— 4-Weeek Fixed Dose Period >
-O-Placebo
9 4
~k&k~ Gabapentin, 1800 mg/day
85 i Gabapentin, 2400 mg/day
7 4
g |
6
w”
© 3
a
e 47
G
@
= 3,
2 4
**p < 0.01
1 af
0
Baseline 1 2 3 4 5 6 7

Weeks

Figure 2, Weekly Mean Pain Scores (Observed Cases in ITT Population): Study 2

The proportion of responders (those patients reporting at least 50% improvement in endpoint pain
score compared with baseline) was calculated for each study (Figure 3).

Confidential Pfizer LKnapp_0068591]
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 9 of 35

NDA 21-397
Page 10

50 -

 

 

* p<0.01
wee <0.001

= 454 p <0.00
°
S 40
2 4
we 357 tei
5 30
g 4
c
8 254
$
Y 2-4
on
o
g 15 4
a 14%
_—
c 4 12%
5 10 °
oO
o
a 57

0

 

  

 

 

 

 

 

 

PBO GBP PBO GBP GBP
3600 1800 2400
Study 1 Study 2

Figure 3. Proportion of Responders (patients with >50% reduction in pain score) at Endpoint:
Controlled PHN Studies

Epilepsy

The effectiveness of Neurontin” as adjunctive therapy (added to other antiepileptic drugs) was
established in multicenter placebo-controlled, double-blind, parallel-group clinical trials in adult and
pediatric patients (3 years and older) with refractory partial seizures.

Evidence of effectiveness was obtained in three trials conducted in 705 patients (age 12 years and
above) and one trial conducted in 247 pediatric patients (3 to 12 years of age). The patients enrolled
had a history of at least 4 partial seizures per month in spite of receiving one or more antiepileptic
drugs at therapeutic levels and were obscrved on their established anticpileptic drug regimen during a
12-week baseline period (6 weeks in the study of pediatric patients). In patients continuing to have at
least 2 (or 4 in some studies) seizures per month, Neurontin® or placebo was then added on to the
existing therapy during a 12-week treatment period. Effectiveness was assessed primarily on the basis
of the percent of patients with a 50% or greater reduction in seizure frequency from baseline to
treatment (the “responder rate”) and a derived measure called response ratio, a measure of change
defined as (T - B)/(T + B), where B is the patient’s baseline seizure frequency and T is the patient’s

Confidential Pfizer LKnapp_0068592
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 10 of 35

NDA 21-397
Page 11

seizure frequency during treatment. Response ratio is distributed within the range -1 to +1. A zero
value indicates no change while complete elimination of seizures would give a value of -1; increased
seizure rates would give positive values. A response ratio of -0.33 corresponds to a 50% reduction in
seizure frequency. The results given below are for all partial seizures in the intent-to-treat (all patients
who received any doses of treatment) population in each study, unless otherwise indicated.

One study compared Neurontin® 1200 mg/day divided TID with placebo. Responder rate was 23%
(14/61) in the Neurontin® group and 9% (6/66) in the placebo group; the difference between groups
was Statistically significant. Response ratio was also better in the Neurontin” group (-0.199) than in the

placebo group (-0.044), a difference that also achieved statistical significance.

A second study compared primarily 1200 mg/day divided TID Neurontin® (N=101) with placebo
(N=98). Additional smaller Neurontin™ dosage groups (600 mg/day, N=53; 1800 mg/day, N=54) were
also studied for information regarding dose response. Responder rate was higher in the Neurontin®
1200 mg/day group (16%) than in the placebo group (8%), but the difference was not statistically
significant. The responder rate at 600 mg (17%) was also not significantly higher than in the placebo,
but the responder rate in the 1800 mg group (26%) was statistically significantly superior to the
placcbo rate. Response ratio was better in the Ncurontin® 1200 mg/day group (-0.103) than in the
placebo group (-0.022); but this difference was also not statistically significant (p = 0.224). A better
response was seen in the Neurontin® 600 mg/day group (-0.105) and 1800 mg/day group (-0.222) than
in the 1200 mg/day group, with the 1800 mg/day group achieving statistical significance compared to
the placebo group.

A third study compared Neurontin” 900 mg/day divided TID (N=111) and placebo (N=109). An
additional Neurontin® 1200 mg/day dosage group (N=52) provided dose-response data. A statistically
significant difference in responder rate was seen in the Neurontin® 900 mg/day group (22%) compared
to that in the placebo group (10%). Response ratio was also statistically significantly superior in the
Neurontin® 900 mg/day group (-0.119) compared to that in the placebo group (-0.027), as was response
ratio in 1200 mg/day Neurontin® (-0.184) compared to placebo.

Analyses were also performed in each study to examine the effect of Neurontin® on preventing
secondarily generalized tonic-clonic seizures, Patients who experienced a secondarily generalized
tonic-clonic seizure in either the baseline or in the treatment period in all three placebo-controlled
studies were included in these analyses. There were several response ratio comparisons that showed a
statistically significant advantage for Neurontin® compared to placebo and favorable trends for almost

all comparisons.

Confidential Pfizer LKnapp_0068593
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 11 of 35

NDA 21-397
Page 12

Analysis of responder rate using combined data from all three studies and all doses (N=162,
Neurontin®; N=89, placebo) also showed a significant advantage for Neurontin® over placebo in
reducing the frequency of secondarily generalized tonic-clonic seizures.

In two of the three controlled studics, more than one dose of Neurontin® was used. Within cach study
the results did not show a consistently increased response to dose. However, looking across studies, a
trend toward increasing efficacy with increasing dose is evident (see Figure 4).

Prop
fx

 

Ww =
i a MisTuay a
BI ¢ ESSTEDY b
S
= 7] 4 a Kistuaye
a

poy

 

 

 

|
TN

 

Figure 4, Responder Rate in Patients Receiving Neurontin® Expressed as a Difference From
Placebo by Dose and Study: Adjunctive Therapy Studies in Patients >12 Years of Age
With Partial Seizures

In the figure, treatment effect magnitude, measured on the Y axis in terms of the difference in the
proportion of gabapentin and placebo assigned patients attaining a 50% or greater reduction in seizure
frequency from baseline, is plotted against the daily dose of gabapentin administered (X axis).

Although no formal analysis by gender has been performed, estimates of response (Response Ratio)
derived from clinical trials (398 men, 307 women) indicate no important gender differences exist.
There was no consistent pattern indicating that age had any effect on the response to Neurontin®. There
were insufficient numbers of patients of races other than Caucasian to permit a comparison of efficacy
among racial groups.

Confidential Pfizer LKnapp_ 0068594
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 12 of 35

NDA 21-397
Page 13

A fourth study in pediatric patients age 3 to 12 years compared 25 - 35 mg/kg/day Neurontin® (N=118)
with placebo (N=127), For all partial seizures in the intent-to-treat population, the response ratio was
statistically significantly better for the Neurontin” group (-0.146) than for the placebo group (-0.079).
For the same population, the responder rate for Neurontin® (21%) was not significantly different from
placebo (18%).

A study in pediatric patients age 1 month to 3 years compared 40 mg/kg/day Neurontin® (N=38) with
placebo (N=38) in patients who were receiving at least one marketed antiepileptic drug and had at least
one partial seizure during the screening period (within 2 weeks prior to baseline). Patients had up to

48 hours of baseline and up to 72 hours of double-blind video EEG monitoring to record and count the
occurrence of seizures. There were no statistically significant differences between treatments in either

the response ratio or responder rate.

INDICATIONS AND USAGE

Postherpetic Neuralgia

Neurontin® (gabapentin) is indicated for the management of postherpetic neuralgia in adults.

Epilepsy

Neurontin® (gabapentin) is indicated as adjunctive therapy in the treatment of partial seizures with and
without secondary generalization in patients over 12 years of age with epilepsy. Neurontin® is also
indicated as adjunctive therapy in the treatment of partial seizures in pediatric patients age 3 - 12 years.

CONTRAINDICATIONS

Neurontin” is contraindicated in patients who have demonstrated hypersensitivity to the drug or its
ingredients.

WARNINGS

Neuropsychiatric Adverse Events—Pediatric Patients 3-12 years of age

Gabapentin use in pediatric patients with epilepsy 3-12 years of age is associated with the occurrence
of central nervous system related adverse events. The most significant of these can be classified into
the following categories: 1) emotional lability (primarily behavioral problems), 2) hostility, including
aggressive behaviors, 3) thought disorder, including concentration problems and change in school

Confidential Pfizer LKnapp_ 0068595
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 13 of 35

NDA 21-397
Page 14

performance, and 4) hyperkinesia (primarily restlessness and hyperactivity). Among the gabapentin-
treated patients, most of the events were mild to moderate in intensity.

In controlled trials in pediatric paticnts 3-12 ycars of age, the incidence of these adverse events was:
emotional lability 6% (gabapentin-treated patients) vs 1.3% (placebo-treated patients); hostility

5.2% vs 1.3%; hyperkinesia 4.7% vs 2.9%; and thought disorder 1.7% vs 0%. One of these events, a
report of hostility, was considered serious. Discontinuation of gabapentin treatment occurred in 1.3%
of patients reporting emotional lability and hyperkinesia and 0.9% of gabapentin-treated patients
reporting hostility and thought disorder. One placebo-treated patient (0.4%) withdrew due to emotional
lability.

Withdrawal Precipitated Seizure, Status Epilepticus

Antiepileptic drugs should not be abruptly discontinued because of the possibility of increasing seizure

frequency.

In the placebo-controlled studies in patients >12 years of age, the incidence of status epilepticus in
patients receiving Neurontin™ was 0.6% (3 of 543) versus 0.5% in patients receiving placebo

(2 of 378). Among the 2074 patients >12 years of age treated with Neurontin® across all studies
(controlled and uncontrolled) 31 (1.5%) had status epilepticus. Of these, 14 paticnts had no prior
history of status cpilcpticus cither before treatment or while on other medications. Because adequate
historical data are not available, it is impossible to say whether or not treatment with Neurontin® is
associated with a higher or lower rate of status epilepticus than would be expected to occur in a similar

population not treated with Neurontin".
Tumorigenic Potential

In standard preclinical in vivo lifetime carcinogenicity studies, an unexpectedly high incidence of
pancreatic acinar adenocarcinomas was identified in male, but not female, rats. (See PRECAUTIONS:
Carcinogenesis, Mutagenesis, Impairment of Fertility.) The clinical significance of this finding is
unknown. Clinical experience during gabapentin’s premarketing devclopment provides no direct means

to assess its potential for inducing tumors in humans.

In clinical studies in adjunctive therapy in epilepsy comprising 2085 patient-years of exposure in
patients >12 years of age, new tumors were reported in 10 patients (2 breast, 3 brain, 2 lung, 1 adrenal,
1 non-Hodgkin’s lymphoma, 1 endometrial carcinoma in situ), and pre-existing tumors worsened in
1] patients (9 brain, 1 breast, 1 prostatc) during or up to 2 years following discontinuation of
Neurontin®. Without knowledge of the background incidence and recurrence in a similar population

Confidential Pfizer LKnapp_ 0068596
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 14 of 35

NDA 21-397
Page 15

not treated with Neurontin", it is impossible 1o know whether the incidence seen in this cohort is or is

not affected by treatment.
Sudden and Unexplained Death in Patients With Epilepsy

During the course of premarketing development of Neurontin” 8 sudden and unexplained deaths were
recorded among a cohort of 2203 patients treated (2103 patient-years of exposure).

Some of these could represent seizure-related deaths in which the seizure was not observed, e.g., at
night, This represents an incidence of 0.0038 deaths per patient-year. Although this rate exceeds that
expected in a healthy population matched for age and sex, it is within the range of estimates for the
incidence of sudden unexplained deaths in patients with epilepsy not receiving Neurontin® (ranging
from 0.0005 for the general population of epileptics to 0.003 for a clinical trial population similar to
that in the Neurontin® program, to 0.005 for patients with refractory epilepsy). Consequently, whether
these figures are reassuring or raise further concern depends on comparability of the populations
reported upon to the Neurontin™ cohort and the accuracy of the estimates provided.

PRECAUTIONS

Information for Patients
Patients should be instructed to take Neurontin” only as prescribed.

Patients should be advised that Neurontin™ may cause dizziness, somnolence and other symptoms and
signs of CNS depression. Accordingly, they should be advised neither to drive a car nor to operate
other complex machinery until they have gained sufficient experience on Neurontin® to gauge whether
or not it affects their mental and/or motor performance adversely.

Patients who require concomitant treatment with morphine may experience increases in gabapentin
concentrations. Patients should be carefully observed for signs of CNS depression, such as somnolence,
and the dose of Neurontin® or morphine should be reduced appropriately (see Drug Interactions).

Laboratory Tests

Clinical trials data do not indicate that routine monitoring of clinical laboratory parameters is necessary
for the safe use of Neurontin”. The value of monitoring gabapentin blood concentrations has not been
established. Ncurontin® may be used in combination with other anticpileptic drugs without concern for
alteration of the blood concentrations of gabapentin or of other antiepileptic drugs.

Confidential Pfizer LKnapp_0068597
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 15 of 35

NDA 21-397
Page 16

Drug Interactions

/n vitro studies were conducted to investigate the potential of gabapentin to inhibit the major
cytochrome P450 enzymes (CYP1A2, CYP2A6, CYP2C9, CYP2C19, CYP2D6, CYP2E1, and
CYP3A4) that mediate drug and xenobiotic metabolism using isoform selective marker substrates and
human liver microsomal preparations. Only at the highest concentration tested (171 t4g/mL; 1 mM) was
a slight degree of inhibition (14%-30%) of isoform CYP2A6 observed. No inhibition of any of the
other isoforms tested was observed at gabapentin concentrations up to 171 g/mL (approximately

15 times the Cy, at 3600 mg/day).

Gabapentin is not appreciably metabolized nor does it interfere with the metabolism of commonly

coadministered antiepileptic drugs.

The drug interaction data described in this section were obtained from studics involving healthy adults

and adult patients with epilepsy.

Phenytoin: In a single (400 mg) and multiple dose (400 mg TID) study of Neurontin® in epileptic
patients (N=8) maintained on phenytoin monotherapy for at least 2 months, gabapentin had no effect
on the steady-state trough plasma concentrations of phenytoin and phenytoin had no effect on
gabapentin pharmacokinctics.

Carbamazepine: Steady-state trough plasma carbamazepine and carbamazepine 10, 11 epoxide
concentrations were not affected by concomitant gabapentin (400 mg TID; N=12) administration.
Likewise, gabapentin pharmacokinetics were unaltered by carbamazepine administration.

Valproic Acid: The mean steady-state trough serum valproic acid concentrations prior to and during
concomitant gabapentin administration (400 mg TID; N=17) were not different and neither were

gabapentin pharmacokinetic parameters affected by valproic acid.

Phenobarbital: Estimates of steady-state pharmacokinetic parameters for phenobarbital or gabapentin
(300 mg TID; N=12) arc identical whcther the drugs arc administered alone or together.

Naproxen: Coadministration (N=18) of naproxen sodium capsules (250 mg) with Neurontin®

(125 mg) appears to increase the amount of gabapentin absorbed by 12% to 15%. Gabapentin had no
effect on naproxen pharmacokinetic parameters. These doses are lower than the therapeutic doses for
both drugs. The magnitude of interaction within the recommended dose ranges of either drug is not

known.

Confidential Pfizer LKnapp_0068598
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 16 of 35

NDA 21-397
Page 17

Hydrocodone: Coadministration of Neurontin® (125 to 500 mg; N=48) decreases hydrocodone

(10 mg; N=50) Cinax and AUC values in a dose-dependent manner relative to administration of
hydrocodone alone; Cmax and AUC values are 3% to 4% lower, respectively, after administration of
125 mg Neurontin® and 21% to 22% lower, respectively, after administration of 500 mg Neurontin®.
The mechanism for this interaction is unknown. Hydrocodone increases gabapentin AUC values by

14%, The magnitude of interaction at other doses is not known.

Morphine: A literature article reported that when a 60-mg controlled release morphine capsule was
administered 2 hours prior to a 600-mg Neurontin® capsule (N=12), mean gabapentin AUC increased
by 44% compared to gabapentin administered without morphine (see PRECAUTIONS). Morphine
pharmacokinetic parameter values were not affected by administration of Neurontin® 2 hours after

morphine. The magnitude of interaction at other doses is not known.

Cimetidine: In the presence of cimetidine at 300 mg QID (N=12) the mean apparent oral clearance of
gabapentin fell by 14% and creatinine clearance fell by 10%. Thus cimetidine appeared to alter the
renal excretion of both gabapentin and creatinine, an endogenous marker of renal function. This small
decrease in excretion of gabapentin by cimetidine is not expected to be of clinical importance. The

effect of gabapentin on cimetidine was not evaluated.

Oral Contraceptives: Bascd on AUC and half-life, multiple-dose pharmacokinctic profiles of
norethindrone and ethinyl estradiol following administration of tablets containing 2.5 mg of
norethindrone acetate and 50 meg of ethinyl estradiol were similar with and without coadministration
of gabapentin (400 mg TID; N=13). The Cmax of norethindrone was 13% higher when it was
coadministered with gabapentin; this interaction is not expected to be of clinical importance.

Antacid (Maalox®): Maalox reduced the bioavailability of gabapentin (N=16) by about 20%. This
decrease in bioavailability was about 5% when gabapentin was administered 2 hours after Maalox. It is
recommended that gabapentin be taken at least 2 hours following Maalox administration.

Effect of Probenecid: Probenecid is a blocker of renal tubular secretion. Gabapentin pharmacokinetic
parameters without and with probenecid were comparable. This indicates that gabapentin does not
undergo renal tubular sccrction by the pathway that is blocked by probenecid.

Drug/Laboratory Tests Interactions

Because false positive readings were reported with the Ames N-Multistix SG® dipstick test for urinary
protein when gabapentin was added to other antiepileptic drugs, the more specific sulfosalicylic acid
precipitation procedure is recommended to determine the presence of urine protein.

Confidential Pfizer LKnapp_0068599
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 17 of 35

NDA 21-397
Page 18

Carcinogenesis, Mutagenesis, Impairment of Fertility

Gabapentin was given in the diet to mice at 200, 600, and 2000 mg/kg/day and to rats at 250, 1000, and
2000 mg/kg/day for 2 ycars. A statistically significant increase in the incidence of pancreatic acinar cell
adenomas and carcinomas was found in male rats receiving the high dose; the no-effect dose for the
occurrence of carcinomas was 1000 mg/kg/day. Peak plasma concentrations of gabapentin in rats
receiving the high dose of 2000 mg/kg were 10 times higher than plasma concentrations in humans
receiving 3600 mg per day, and in rats receiving 1000 mg/kg/day peak plasma concentrations were

6.5 times higher than in humans receiving 3600 mg/day. The pancreatic acinar cell carcinomas did not
affect survival, did not metastasize and were not locally invasive. The relevance of this finding to

carcinogenic risk in humans is unclear.

Studies designed to investigate the mechanism of gabapentin-induced pancreatic carcinogenesis in rats
indicate that gabapentin stimulates DNA synthesis in rat pancreatic acinar cells in vitro and, thus, may

be acting as a tumor promoter by enhancing mitogenic activity. It is not known whether gabapentin has
the ability to increase cell proliferation in other cell types or in other species, including humans.

Gabapentin did not demonstrate mutagenic or genotoxic potential in three in vitro and four in vivo
assays. It was negative in the Ames test and the in vitro HGPRT forward mutation assay in Chinese
hamster lung cells; it did not produce significant increases in chromosomal aberrations in the in vitro
Chinese hamster lung cell assay; it was negative in the in vivo chromosomal aberration assay and in the
in vivo micronucleus test in Chinese hamster bone marrow; it was negative in the in vive mouse
micronucleus assay; and it did not induce unscheduled DNA synthesis in hepatocytes from rats given
gabapentin.

No adverse effects on fertility or reproduction were observed in rats at doses up to 2000 mg/kg
(approximately 5 times the maximum recommended human dose on a mg/m? basis).

Pregnancy

Pregnancy Category C: Gabapentin has been shown to be fetotoxic in rodents, causing delayed
ossification of several bones in the skull, vertebrae, forelimbs, and hindlimbs. These effects occurred
when pregnant mice received oral doses of 1000 or 3000 mg/kg/day during the period of
organogenesis, or approximately | to 4 times the maximum dose of 3600 mg/day given to epileptic
patients on a mg/m” basis. The no-effect level was 500 mg/kg/day or approximately % of the human

2 .
dose on a mg/m” basis.

Confidential Pfizer LKnapp_0068600
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 18 of 35

NDA 21-397
Page 19

When rats were dosed prior to and during mating, and throughout gestation, pups from all dose groups
(500, 1000 and 2000 mg/kg/day) were affected. These doses are equivalent to less than approximately

1 to 5 times the maximum human dose on a mg/m” basis. There was an increased incidence of
hydroureter and/or hydronephrosis in rats in a study of fertility and general reproductive performance at
2000 mg/kg/day with no effect at 1000 mg/kg/day, in a teratology study at 1500 mg/kg/day with no
effect at 300 mg/kg/day, and in a perinatal and postnatal study at all doses studied (500, 1000 and

2000 mg/kg/day). The doses at which the effects occurred are approximately 1 to 5 times the maximum
human dosc of 3600 mg/day on a mg/m” basis; the no-effect doses were approximately 3 times
(Fertility and General Reproductive Performance study) and approximately equal to (Teratogenicity
study) the maximum human dose on a mg/m” basis. Other than hydroureter and hydronephrosis, the
etiologies of which are unclear, the incidence of malformations was not increased compared to controls
in offspring of mice, rats, or rabbits given doses up to 50 times (mice), 30 times (rats), and 25 times
(rabbits) the human daily dose on a mg/kg basis, or 4 times (mice), 5 times (rats), or 8 times (rabbits)

the human daily dose on a mg/m” basis.

In a teratology study in rabbits, an increased incidence of postimplantation fetal loss occurred in dams
exposed to 60, 300 and 1500 mg/kg/day, or less than approximately % to 8 times the maximum human
dose on a mg/m” basis. There are no adequate and well-controlled studies in pregnant women. This
drug should be used during pregnancy only if the potential benefit justifies the potential risk to the
fetus.

Use in Nursing Mothers

Gabapentin is secreted into human milk following oral administration. A nursed infant could be
exposed to a maximum dose of approximately | mg/kg/day of gabapentin. Because the effect on the
nursing infant is unknown, Neurontin®™ should be used in women who are nursing only if the benefits

clearly outweigh the risks.
Pediatric Use

Safety and effectiveness of Neurontin® (gabapentin) in the management of postherpetic neuralgia in
pediatric patients have not been established.

Effectiveness as adjunctive therapy in the treatment of partial seizures in pediatric patients below the
age of 3 years has not been established (see CLINICAL PHARMACOLOGY, Clinical Studies).

Confidential Pfizer LKnapp_ 0068601
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 19 of 35

NDA 21-397
Page 20

Geriatric Use

The total number of patients treated with Neurontin® in controlled clinical trials in patients with
postherpetic neuralgia was 336, of which 102 (30%) were 65 to 74 years of age, and 168 (50%) were
75 years of age and older. There was a larger treatment effect in patients 75 years of age and older
compared with younger patients who received the same dosage. Since gabapentin is almost exclusively
eliminated by renal excretion, the larger treatment effect observed in patients >75 years may be a
conscquencc of inercased gabapentin cxposure for a given dose that results from an age-related
decrease in renal function. However, other factors cannot be excluded. The types and incidence of
adverse events were similar across age groups except for peripheral edema and ataxia, which tended to

increase in incidence with age.

Clinical studies of Neurontin” in epilepsy did not include sufficient numbers of subjects aged 65 and
over to determine whether they responded differently from younger subjects. Other reported clinical
experience has not identified differences in responses between the elderly and younger patients. In
general, dose selection for an elderly patient should be cautious, usually starting at the low end of the
dosing range, reflecting the greater frequency of decreased hepatic, renal, or cardiac function, and of
concomitant disease or other drug therapy.

This drug is known to be substantially excreted by the kidney, and the risk of toxic reactions to this
drug may be greater in patients with impaired renal function. Because elderly patients are more likely
to have decreased renal function, care should be taken in dose selection, and dose should be adjusted
based on creatinine clearance values in these patients (see CLINICAL PHARMACOLOGY,
ADVERSE REACTIONS, and DOSAGE AND ADMINISTRATION).

ADVERSE REACTIONS

Postherpetic Neuralgia

The most commonly observed adverse events associated with the use of Neurontin® in adults, not seen
at an equivalent frequency among placebo-treated patients, were dizziness, somnolence, and peripheral

edema.

: . . + ®
In the 2 controlled studics in postherpetic neuralgia, 16% of the 336 paticnts who reccived Neurontin
and 9% of the 227 patients who received placebo discontinued treatment because of an adverse event.
The adverse events that most frequently led to withdrawal in Neurontin®-treated patients were

dizziness, somnolence, and nausea.

Confidential Pfizer LKnapp_ 0068602
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 20 of 35

NDA 21-397
Page 21

Incidence in Controlled Clinical Trials

Table 2 lists treatment-emergent signs and symptoms that occurred in at least 1% of Neurontin®-treated
patients with postherpetic neuralgia participating in placebo-controlled trials and that were numerically
more frequent in the Neurontin® group than in the placebo group. Adverse events were usually mild to
moderate in intensity.

Confidential Pfizer LKnapp_0068603
Confidential

Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 21 of 35

NDA 21-397
Page 22

 

 

 

Table 2, Treatment-Emergent Adverse Event Incidence in
Controlled Trials in Postherpetic Neuralgia (Events
in at least 1% of Neurontin®-Treated Patients and
Numerically More Frequent Than in the Placebo
Group)

Body System/ Neurontin® Placebo
Preferred Term N=336 N=227
% %
Body as a Whole
Asthenia 5.7 4.8
Infection 5.1 3.5
Headache 3.3 3.1
Accidental injury 3.3 1,3
Abdominal pain 2.7 2.6
Digestive System
Diarrhea 5.7 3,1
Dry mouth 4.8 1.3
Constipation 3.9 1.8
Nausea 3,9 3.1
Vomiting 3.3 1.8
Flatulence 2.1 1.8
Metabolic and Nutritional Disorders
Peripheral edema 8.3 2,2
Weight gain 1.8 0.0
Hyperglycemia 1.2 0.4
Nervous System
Dizziness 28.0 75
Somnolence 21.4 5.3
Ataxia 3.3 0.0
Thinking abnormal 2.7 0.0
Abnormal gait 1.5 0.0
Incoordination 1.5 0.0
Amnesia 1.2 0.9
Hypesthesia 1.2 0.9
Respiratory System
Pharyngitis 1.2 0.4
Skin and Appendages
Rash 1.2 0.9
Special Senses
Amblyopia* 2.7 0.9
Conjunctivitis 1.2 0.0
Diplopia 1.2 0.0
Otitis media 1.2 0.0

 

Reported as blurred vision

Pfizer LKnapp_0068604
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 22 of 35

NDA 21-397
Page 23

Other events in more than 1% of patients but equally or more frequent in the placebo group included
pain, tremor, neuralgia, back pain, dyspepsia, dyspnea, and flu syndrome.

There were no clinically important differences between men and women in the types and incidence of
adverse events, Because there were few patients whose race was reported as other than white, there are
insufficient data to support a statement regarding the distribution of adverse events by race.

Epilepsy

The most commonly observed adverse events associated with the use of Neurontin® in combination
with other antiepileptic drugs in patients >12 years of age, not seen at an equivalent frequency among
placebo-treated patients, were somnolence, dizziness, ataxia, fatigue, and nystagmus. The most
commonly observed adverse events reported with the use of Neurontin® in combination with other
antiepileptic drugs in pediatric patients 3 to 12 years of age, not seen at an equal frequency among
placebo-treated patients, were viral infection, fever, nausea and/or vomiting, somnolence, and hostility
(sec WARNINGS, Neuropsychiatric Adverse Events).

Approximately 7% of the 2074 patients >12 years of age and approximately 7% of the 449 pediatric
patients 3 to 12 years of age who received Neurontin® in premarketing clinical trials discontinued
treatment because of an adverse event. The adverse events most commonly associated with withdrawal
in patients >12 years of age were somnolence (1.2%), ataxia (0.8%), fatigue (0.6%), nausea and/or
vomiting (0.6%), and dizziness (0.6%). The adverse events most commonly associated with
withdrawal in pediatric patients were emotional lability (1.6%), hostility (1.3%), and hyperkinesia
(1.1%).

Incidence in Controlled Clinical Trials

. . . + ®
Table 3 lists treatment-emergent signs and symptoms that occurred in at least 1% of Neurontin®-treated
patients >12 years of age with epilepsy participating in placebo-controlled trials and were numerically
more common in the Neurontin” group. In these studies, either Neurontin® or placebo was added to the

paticnt’s current anticpilcptic drug therapy. Adverse events were usually mild to moderate in intensity.

The prescriber should be aware that these figures, obtained when Neurontin® was added to concurrent
antiepileptic drug therapy, cannot be used to predict the frequency of adverse events in the course of
usual medical practice where patient characteristics and other factors may differ from those prevailing
during clinical studies. Similarly, the cited frequencies cannot be directly compared with figures
obtained from other clinical investigations involving different treatments, uses, or investigators. An
inspection of these frequencies, however, does provide the prescribing physician with one basis to

Confidential Pfizer LKnapp_0068605
Confidential

Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 23 of 35

NDA 21-397

Page 24

population studied.

 

 

 

Table 3. Treatment-Emergent Adverse Event Incidence in
Controlled Add-On Trials in Patients >12 Years of Age
(Events in at Least 1% of Neurontin® Patients and
Numerically More Frequent Than in the Placebo Group)
(Page | of 2)
Body System/ Neurontin™ Placebo"
Adverse Event N =543 N = 378
% %
Body As A Whole
Fatigue 11.0 5.0
Weight Increase 2.9 1.6
Back Pain 1.8 0.5
Peripheral Edema 1.7 0.5
Cardiovascular
Vasodilatation 1.1 0.3
Digestive System
Dyspepsia 2.2 0.5
Mouth or Throat Dry 1,7 0.5
Constipation 1.5 0.8
Dental Abnormalities 1.5 0.3
Increased Appetite 1.1 0.8
Hematologic and Lymphatic Systems
Leukopenia 1.1 0.5
Musculoskeletal System
Myalgia 2.0 1.9
Fracture Ll 0.8
Nervous System
Somnolence 19.3 8.7
Dizziness 17.1 6.9
Ataxia 12.5 5.6
Nystagmus 8.3 4.0
Tremor 6.8 3.2
Nervousness 2.4 1.9
Dysarthria 2.4 0.5
Amnesia 2.2 0.0
Depression 1.8 1.1
Thinking Abnormal 1.7 1.3
Twitching 1.3 0.5
Coordination Abnormal 1.1 0.3

 

a

Plus background antiepileptic drug therapy

estimate the relative contribution of drug and nondrug factors to the adverse event incidences in the

Pfizer LKnapp_ 0068606
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 24 of 35

 

 

NDA 21-397
Page 25
Table 3. Treatment-Emergent Adverse Event Incidence in
Controlled Add-On Trials in Patients >12 Years of Age
(Events in at Least 1% of Neurontin® Patients and
Numerically More Frequent Than in the Placebo Group)
(Page 2 of 2)
Body System/ Neurontin™? Placebo*
Adverse Event N =543 N = 378
% %
Respiratory System
Rhinitis 4] 3.7
Pharyngitis 2.8 1.6
Coughing 1.8 1.3
Skin and Appendages
Abrasion 1.3 0.0
Pruritus 1.3 0.5
Urogenital System
Impotence 1.5 1.1
Special Senses
Diplopia 5.9 1.9
Amblyopia” 4.2 1.1
Laboratory Deviations
WBC Decreased 1.1 0.5

 

Plus background antiepileptic drug therapy
Amblyopia was often described as blurred vision

Other events in more than 1% of patients >12 years of age but equally or more frequent in the placebo
group included: headache, viral infection, fever, nausca and/or vomiting, abdominal pain, diarrhca,
convulsions, confusion, insomnia, emotional lability, rash, acne.

Among the treatment-emergent adverse events occurring at an incidence of at least 10% of Neurontin®-
treated patients, somnolence and ataxia appeared to exhibit a positive dose-response relationship.

The overall incidence of adverse events and the types of adverse events seen were similar among men
and women treated with Neurontin”. The incidence of adverse events increased slightly with increasing
age in patients treated with either Neurontin” or placebo. Because only 3% of patients (28/921) in
placebo-controlled studies were identified as nonwhite (black or other), there are insufficient data to
Support a statement regarding the distribution of adverse events by race.

Table 4 lists treatment-emergent signs and symptoms that occurred in at least 2% of Neurontin®-treated
patients age 3 to 12 years of age with epilepsy participating in placebo-controlled trials and were
numerically more common in the Neurontin” group. Adverse events were usually mild to moderate in
intensity.

Confidential Pfizer LKnapp_0068607
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 25 of 35

 

 

NDA 21-397
Page 26
Table 4. Treatment-Emergent Adverse Event Incidence in
Pediatric Patients Age 3 to 12 Years in a Controlled
Add-On Trial (Events in at Least 2% of Neurontin®
Patients and Numerically More Frequent Than in
the Placebo Group)
Body System/ Neurontin™* Placebo*
Adverse Event N=119 N= 128
% %
Body As A Whole
Viral Infection 10.9 3.1
Fever 10.1 3.1
Weight Increase 3.4 0.8
Fatigue 3.4 1.6
Digestive System
Nausea and/or Vomiting 8.4 7.0
Nervous System
Somnolence 8.4 4.7
Hostility 7.6 2.3
Emotional Lability 42 1.6
Dizziness 2.5 1.6
Hyperkinesia 2.5 0.8
Respiratory System
Bronchitis 3.4 0.8
Respiratory Infection 2.5 0.8

 

a

Plus background antiepileptic drug therapy

Other events in more than 2% of pediatric patients 3 to 12 years of age but equally or more frequent in
the placcbo group included: pharyngitis, upper respiratory infection, headache, rhinitis, convulsions,
diarrhea, anorexia, coughing, and otitis media.

Other Adverse Events Observed During All Clinical Trials
Clinical Trials in Adults and Adolescents With Epilepsy

Neurontin® has been administered to 2074 paticnts >12 years of age during all adjunctive therapy
clinical trials in epilepsy, only some of which were placebo-controlled. During these trials, all adverse
events were recorded by the clinical investigators using terminology of their own choosing. To provide
a meaningful estimate of the proportion of individuals having adverse events, similar types of events
were grouped into a smaller number of standardized categories using modified COSTART dictionary
terminology. These categories are used in the listing below. The frequencies presented represent the
proportion of the 2074 patients >12 years of age exposed to Neurontin® who experienced an event of
the type cited on at least one occasion while receiving Neurontin”. All reported events are included

Confidential Pfizer LKnapp_ 0068608
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 26 of 35

NDA 21-397
Page 27

except those already listed in Table 3, those too general to be informative, and those not reasonably

associated with the use of the drug.

Events arc further classified within body system categorics and cnumerated in order of decreasing
frequency using the following definitions: frequent adverse events are defined as those occurring in at
least 1/100 patients; infrequent adverse events are those occurring in 1/100 to 1/1000 patients; rare

events are those occurring in fewer than 1/1000 patients.

Body As A Whole: Frequent: asthenia, malaise, face edema; /nfrequent: allergy, generalized edema,
weight decrease, chill; Rare: strange feelings, lassitude, alcohol intolerance, hangover effect.

Cardiovascular System: Frequent: hypertension; Infrequent: hypotension, angina pectoris, peripheral
vascular disorder, palpitation, tachycardia, migraine, murmur; Rare: atrial fibrillation, heart failure,
thrombophlebitis, deep thrombophlebitis, myocardial infarction, cerebrovascular accident, pulmonary
thrombosis, ventricular extrasystoles, bradycardia, premature atrial contraction, pericardial rub, heart
block, pulmonary embolus, hyperlipidemia, hypercholesterolemia, pericardial effusion, pericarditis.

Digestive System: Frequent: anorexia, flatulence, gingivitis; Infrequent: glossitis, gum hemorrhage,
thirst, stomatitis, increased salivation, gastroenteritis, hemorrhoids, bloody stools, fecal incontinence,
hepatomegaly; Rare: dysphagia, eructation, pancreatitis, peptic ulcer, colitis, blisters in mouth, tooth
discolor, perléche, salivary gland enlarged, lip hemorrhage, esophagitis, hiatal hernia, hematemesis,
proctitis, irritable bowel syndrome, rectal hemorrhage, esophageal spasm.

Endocrine System: Rare: hyperthyroid, hypothyroid, goiter, hypoestrogen, ovarian failure,
epididymitis, swollen.testicle, cushingoid appearance.

Hematologic and Lymphatic System: Frequent: purpura most often described as bruises resulting
from physical trauma; Infrequent: ancmia, thrombocytopenia, lymphadenopathy; Rare: WBC count
increased, lymphocytosis, non-Hodgkin’s lymphoma, bleeding time increased.

Musculoskeletal System: Frequent: arthralgia; Infrequent: tendinitis, arthritis, joint stiffness, joint
swelling, positive Romberg test; Rare: costochondritis, osteoporosis, bursitis, contracture.

Nervous System: Frequent: vertigo, hyperkinesia, paresthesia, decreased or absent reflexes, increased
reflexes, anxiety, hostility; Infrequent: CNS tumors, syncope, dreaming abnormal, aphasia,
hypesthesia, intracranial hemorrhage, hypotonia, dysesthesia, paresis, dystonia, hemiplegia, facial
paralysis, stupor, cerebellar dysfunction, positive Babinski sign, decreased position sense, subdural
hematoma, apathy, hallucination, decrease or loss of libido, agitation, paranoia, depersonalization,

Confidential Pfizer LKnapp_ 0068609
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 27 of 35

NDA 21-397
Page 28

euphoria, feeling high, doped-up sensation, suicidal, psychosis; Rare: choreoathetosis, orofacial
dyskinesia, encephalopathy, nerve palsy, personality disorder, increased libido, subdued temperament,
apraxia, fine motor control disorder, meningismus, local myoclonus, hyperesthesia, hypokinesia,

mania, neurosis, hysteria, antisocial reaction, suicide gesture.

Respiratory System: Frequent: pneumonia; Infrequent: epistaxis, dyspnea, apnea; Rare: mucositis,
aspiration pneumonia, hyperventilation, hiccup, laryngitis, nasal obstruction, snoring, bronchospasm,

hypoventilation, lung edema.

Dermatological: /nfrequent: alopecia, eczema, dry skin, increased sweating, urticaria, hirsutism,
seborrhea, cyst, herpes simplex; Rare: herpes zoster, skin discolor, skin papules, photosensitive
reaction, Icg ulccr, scalp scborrhca, psoriasis, desquamation, maccration, skin nodules, subcutancous

nodule, melanosis, skin necrosis, local swelling,

Urogenital System: Infrequent: hematuria, dysuria, urination frequency, cystitis, urinary retention,
urinary incontinence, vaginal hemorrhage, amenorrhea, dysmenorrhea, menorrhagia, breast cancer,
unable to climax, ejaculation abnormal; Rare: kidney pain, leukorrhea, pruritus genital, renal stone,
acute renal failure, anuria, glycosuria, nephrosis, nocturia, pyuria, urination urgency, vaginal pain,

breast pain, testicle pain.

Special Senses: Frequent: abnormal vision; Jnfrequent: cataract, conjunctivitis, eyes dry, eye pain,
visual field defect, photophobia, bilateral or unilateral ptosis, eye hemorrhage, hordeolum, hearing loss,
earache, tinnitus, inner ear infection, otitis, taste loss, unusual taste, eye twitching, ear fullness; Rare:
eye itching, abnormal accommodation, perforated ear drum, sensitivity to noise, eye focusing problem,
watcry cycs, rctinopathy, glaucoma, iritis, corncal disorders, lacrimal dysfunction, degenerative eye
changes, blindness, retinal degeneration, miosis, chorioretinitis, strabismus, eustachian tube

dysfunction, labyrinthitis, otitis externa, odd smell.
Clinical Trials in Pediatric Patients With Epilepsy

Adverse events occurring during epilepsy clinical trials in 449 pediatric patients 3 to 12 years of age
treated with gabapentin that were not reported in adjunctive trials in adults are:

Body as a Whole: dehydration, infectious mononucleosis
Digestive System: hepatitis

Hemic and Lymphatic System: coagulation defect

Confidential Pfizer LKnapp_0068610
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 28 of 35

NDA 21-397
Page 29

Nervous System: aura disappeared, occipital neuralgia

Psychobiologic Function: sleepwalking

Respiratory System: pseudocroup, hoarseness

Clinical Trials in Adults With Neuropathic Pain of Various Etiologies

Safety information was obtained in 1173 patients during double-blind and open-label clinical trials
including neuropathic pain conditions for which efficacy has not been demonstrated. Adverse events
reported by investigators were grouped into standardized categories using modified COSTART IV
terminology. Listed below are all reported events except those already listed in Table 2 and those not
reasonably associated with the use of the drug.

Events are further classified within body system categories and enumerated in order of decreasing
frequency using the following definitions: frequent adverse events are defined as those occurring in at
least 1/100 patients; infrequent adverse events are those occurring in 1/100 to 1/1000 patients; rare
events are those occurring in fewer than 1/1000 patients.

Body as a Whole: /nfrequent: chest pain, cellulitis, malaise, neck pain, face edema, allergic reaction,
abscess, chills, chills and fever, mucous membrane disorder; Rare: body odor, cyst, fever, hernia,

abnormal BUN value, lump in neck, pelvic pain, sepsis, viral infection

Cardiovascular System: /nfrequent: hypertension, syncope, palpitation, migraine, hypotension,
peripheral vascular disorder, cardiovascular disorder, cerebrovascular accident, congestive heart
failure, myocardial infarction, vasodilatation; Rare: angina pectoris, heart failure, increased capillary

fragility, phlebitis, thrombophlebitis, varicose vein

Digestive System: Infrequent: gastroenteritis, increased appetite, gastrointestinal disorder, oral
moniliasis, gastritis, tongue disorder, thirst, tooth disorder, abnormal stools, anorexia, liver function
tests abnormal, periodontal abscess; Rare: cholecystitis, cholelithiasis, duodenal ulcer, fecal
incontinence, gamma glutamyl transpeptidase increased, gingivitis, intestinal obstruction, intestinal
ulcer, melena, mouth ulceration, rectal disorder, rectal hemorrhage, stomatitis

Endocrine System: /nfrequent: diabetes mellitus

Hemic and Lymphatic System: /nfrequent: ecchymosis, anemia; Rare: lymphadenopathy, lymphoma-
like reaction, prothrombin decreased

Confidential Pfizer LKnapp_0068611
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 29 of 35

NDA 21-397
Page 30

Metabolic and Nutritional: /nfrequent: edema, gout, hypoglycemia, weight loss; Rare: alkaline
phosphatase increased, diabetic ketoacidosis, lactic dehydrogenase increased

Musculoskeletal: /nfrequent: arthritis, arthralgia, myalgia, arthrosis, leg cramps, myasthenia; Rare:

shin bone pain, joint disorder, tendon disorder

Nervous System: Frequent: confusion, depression; Jnfrequent: vertigo, nervousness, paresthesia,
insomnia, neuropathy, libido decreased, anxiety, depersonalization, reflexes decreased, speech
disorder, abnormal dreams, dysarthria, emotional lability, nystagmus, stupor, circumoral paresthesia,
euphoria, hyperesthesia, hypokinesia; Rare: agitation, hypertonia, libido increased, movement disorder,

myoclonus, vestibular disorder

Respiratory System: /nfrequent: cough increased, bronchitis, rhinitis, sinusitis, pneumonia, asthma,

lung disorder, epistaxis; Rare: hemoptysis, voice alteration

Skin and Appendages: /nfrequent: pruritus, skin ulcer, dry skin, herpes zoster, skin disorder, fungal
dermatitis, furunculosis, herpes simplex, psoriasis, sweating, urticaria, vesiculobullous rash; Rare:
acne, hair disorder, maculopapular rash, nail disorder, skin carcinoma, skin discoloration, skin

hypertrophy

Special Senses: /nfrequent: abnormal vision, ear pain, eye disorder, taste perversion, deafness; Rare:
conjunctival hyperemia, diabetic retinopathy, eye pain, fundi with microhemorrhage, retinal vein

thrombosis, taste loss

Urogenital System: /nfrequent: urinary tract infection, dysuria, impotence, urinary incontinence,
vaginal moniliasis, breast pain, menstrual disorder, polyuria, urinary retention; Rare: cystitis,
ejaculation abnormal, swollen penis, gynecomastia, nocturia, pyelonephritis, swollen scrotum, urinary

frequency, urinary urgency, urine abnormality
Postmarketing and Other Experience

In addition to the adverse experiences reported during clinical testing of Neurontin®, the following
adverse experiences have been reported in patients receiving marketed Neurontin®. These adverse
experiences have not been listed above and data are insufficient to support an estimate of their
incidence or to establish causation. The listing is alphabetized: angioedema, blood glucose fluctuation,
erythema multiforme, elevated liver function tests, fever, hyponatremia, jaundice, Stevens-Johnson

syndrome.

Confidential Pfizer LKnapp_0068612
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 30 of 35

NDA 21-397
Page 31

DRUG ABUSE AND DEPENDENCE

The abuse and dependence potential of Neurontin® has not been evaluated in human studies.

OVERDOSAGE

A lethal dose of gabapentin was not identified in mice and rats receiving single oral doses as high as
8000 mg/kg. Signs of acute toxicity in animals included ataxia, labored breathing, ptosis, sedation,

hypoactivity, or excitation.

Acute oral overdoses of Neurontin® up to 49 grams have been reported. In these cases, double vision,
slurred speech, drowsiness, lethargy and diarrhea were observed. All patients recovered with

supportive care.

Gabapentin can be removed by hemodialysis. Although hemodialysis has not been performed in the
few overdose cases reported, it may be indicated by the patient’s clinical state or in patients with

significant renal impairment.

DOSAGE AND ADMINISTRATION

Neurontin® is given orally with or without food.

Postherpetic Neuralgia

In adults with postherpetic neuralgia, Neurontin” therapy may be initiated as a single 300-mg dose on
Day 1, 600 mg/day on Day 2 (divided BID), and 900 mg/day on Day 3 (divided TID). The dose can
subsequently be titrated up as needed for pain relief to a daily dose of 1800 mg (divided TID). In
clinical studies, efficacy was demonstrated over a range of doses from 1800 mg/day to 3600 mg/day
with comparable effects across the dose range. Additional benefit of using doses greater than

1800 mg/day was not demonstrated.

Epilepsy

Neurontin” is recommended for add-on therapy in patients 3 years of age and older. Effectiveness in
pediatric patients below the age of 3 years has not been established.

Patients >12 years of age: The effective dose of Neurontin® is 900 to 1800 mg/day and given in
divided doses (three times a day) using 300 or 400 mg capsules, or 600 or 800 mg tablets. The starting
dose is 300 mg three times a day. If necessary, the dose may be increased using 300 or 400 mg

Confidential Pfizer LKnapp_0068613
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 31 of 35

NDA 21-397
Page 32

capsules, or 600 or 800 mg tablets three times a day up to 1800 mg/day. Dosages up to 2400 mg/day
have been well tolerated in long-term clinical studies. Doses of 3600 mg/day have also been
administered to a small number of patients for a relatively short duration, and have been well tolerated.
The maximum time between doses in the TID schedule should not exceed 12 hours.

Pediatric Patients Age 3-12 years: The starting dose should range from 10-15 mg/kg/day in 3 divided
doses, and the effective dose reached by upward titration over a period of approximately 3 days. The
effective dose of Neurontin® in patients 5 years of age and older is 25-35 mg/kg/day and given in
divided doses (three times a day). The effective dose in pediatric patients ages 3 and 4 years is

40 mg/kg/day and given in divided doses (three times a day). (See CLINICAL PHARMACOLOGY,
Pediatrics.) Neurontin® may be administered as the oral solution, capsule, or tablet, or using
combinations of these formulations. Dosages up to 50 mg/kg/day have been well tolerated in a long-
term clinical study. The maximum time interval between doses should not exceed 12 hours.

It is not necessary to monitor gabapentin plasma concentrations to optimize Neurontin® therapy.
Further, because there are no significant pharmacokinetic interactions among Neurontin® and other
commonly used antiepileptic drugs, the addition of Neurontin® does not alter the plasma levels of these

drugs appreciably.

If Neurontin® is discontinucd and/or an altcrnate anticonvulsant medication is added to the therapy, this

should be done gradually over a minimum of | week.
Dosage in Renal Impairment

Creatinine clearance is difficult to measure in outpatients. In patients with stable renal function,
creatinine clearance (Cc;) can be reasonably well estimated using the equation of Cockcroft and Gault:

for females Cc, = (0.85)(140-age)(weight)/[(72)(Scx)]
for males Cc, = (140-age)(weight)/[(72)(Sc,)]

where age is in years, weight is in kilograms and Sc, is serum creatinine in mg/dL.

Dosage adjustment in paticnts 212 ycars of age with compromised renal function or undergoing
hemodialysis is recommended as follows (see dosing recommendations above for effective doses in

each indication).

Confidential Pfizer LKnapp_0068614
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 32 of 35

 

 

 

 

 

 

NDA 21-397
Page 33
Table 5. Neurontin® Dosage Based on Renal Function
Renal Function Total Daily Dose Regimen
Creatinine Clearance Dose Range (mg)
(mL/min) (mg/day) 8
260 900-3600 300 TID 400TID 600TID 800 TID 1200 TID
>30-59 400-1400 200 BID 300BID 400BID 500BID 700 BID
>15-29 200-700 200QD + 300QD 400QD 500QD 700 QD
15° 100-300 100QD_ =125QD 150QD 200QD 300QD
Post-Hemodialysis Supplemental Dose (mg)?
Hemodialysis | 125° 150° 200° 250° 350°

 

For patients with creatinine clearance <15 mL/min, reduce daily dose in proportion to creatinine clearance
(c.g., patients with a creatinine clearance of 7.5 mL/min should reccive one-half the daily dose that patients
with a creatinine clearance of 15 mLAnin receive).

Patients on hemodialysis should receive maintenance doses based on estimates of creatinine clearance as
indicated in the upper portion of the table and a supplemental post-hemodialysis dose administered after each
4 hours of hemodialysis as indicated in the lower portion of the table.

The use of Neurontin" in patients <12 years of age with compromised renal function has not been
studicd.,

Dosage in Elderly

Because elderly patients are more likely to have decreased renal function, care should be taken in dose
selection, and dose should be adjusted based on creatinine clearance values in these patients.

HOW SUPPLIED

Neurontin® (gabapentin) capsules, tablets and oral solution are supplied as follows:
100-mg capsules:

White hard gelatin capsules printed with “PD” on one side and “Neurontin®/100 mg” on the
other; available in:

Bottles of 100: N 0071-0803-24

Unit dose 50’s: N 0071-0803-40

Confidential Pfizer LKnapp_0068615
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 33 of 35

NDA 21-397
Page 34

300-mg capsules:

Yellow hard gelatin capsules printed with “PD” on one side and “Neurontin®/300 mg” on the
other; available in:

Bottles of 100: N 0071-0805-24

Unit dose 50’s: N 0071-0805-40

400-mg capsules:

Orange hard gelatin capsules printed with “PD” on one side and “Neurontin®/400 mg” on the
other; available in:

Bottles of 100: N 0071-0806-24

Unit dose 50’s: N 0071-0806-40

600-mg tablets:

White elliptical film-coated tablets printed in black ink with “Neurontin® 600” on one side;
available in:

Bottles of 100: N 0071-0416-24

Bottles of 500: N 0071-0416-30

Unit dose 50’s: N 0071-0416-40

800-mg tablets:

White elliptical film-coated tablets printed in orange with “Neurontin® 800” on one side;
available in:

Bottles of 100: N 0071-0426-24

Bottles of 500: N 0071-0426-30

Unit dose 50’s: N 0071-0426-40

250 mg/5 mL oral solution:

Clear colorless to slightly yellow solution; each 5 mL of oral solution contains 250 mg of

gabapentin; available in:
Bottles containing 470 mL: N 0071-2012-23

Storage (Capsules)

Store at 25°C (77°F); excursions permitted to 15°-30°C (59°-86°F) [see USP Controlled Room
Temperature].

Confidential . Pfizer LKnapp_0068616
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 34 of 35

NDA 21-397
Page 35

Storage (Tablets)
Store at 25°C (77°F); excursions permitted to 15°-30°C (59°-86°F) [see USP Controlled Room
Temperature].

Storage (Oral Solution)
Store refrigerated, 2°-8°C (36°-46°F)

Rx only
Revised May 2002
Capsules and Tablets:

Manufactured by:
Parke Davis Pharmaceuticals, Ltd.
Vega Baja, PR 00694

Oral Solution:

Manufactured for:
Parke Davis Pharmaceuticals, Ltd.
Vega Baja, PR 00694

Distributed by:
Parke-Davis
Division of Pfizer Inc
New York, NY 10017

©1998-’02, PDPL

XXXXXX

Confidential Pfizer LKnapp_0068617
Case 1:04-cv-10981-PBS Document 1707-6 Filed 03/12/09 Page 35 of 35

 

This is a representation of an electronic record that was signed electronically and
this page is the manifestation of the electronic signature.

 

Cynthia McCormick
5/24/02 04:49:06 PM

Confidential Pfizer LKnapp_0068618
